Case 1:24-cv-00490-MN      Document 102   Filed 04/14/25     Page 1 of 5 PageID #: 2251




                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 QUALCOMM INCORPORATED,                    )
   a Delaware corporation; and             )
 QUALCOMM TECHNOLOGIES, INC.,              )
   a Delaware corporation,                 )
                                           )
                    Plaintiffs,            )    C.A. No. 24-490 (MN)
                                           )
       v.                                  )    REDACTED – PUBLIC VERSION
                                           )    Original Filing Date: March 27, 2025
 ARM HOLDINGS PLC., f/k/a ARM LTD.,        )    Redacted Filing Date: April 14, 2025
   a U.K. corporation,                     )
                                           )
                    Defendant.             )

     LETTER TO THE HONORABLE MARYELLEN NOREIKA REGARDING
 PLAINTIFFS’ MOTION FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT

                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                          Jack B. Blumenfeld (#1014)
                                          Jennifer Ying (#5550)
                                          Travis Murray (#6882)
 OF COUNSEL:                              1201 North Market Street
                                          P.O. Box 1347
 Karen L. Dunn                            Wilmington, DE 19899
 William A. Isaacson                      (302) 658-9200
 Melissa F. Zappala                       jblumenfeld@morrisnichols.com
 PAUL, WEISS, RIFKIND,                    jying@morrisnichols.com
   WHARTON & GARRISON LLP                 tmurray@morrisnichols.com
 2001 K Street, NW
 Washington, DC 20006                     Attorneys for Plaintiffs
 (202) 223-7300

 Catherine Nyarady
 Erin J. Morgan
 Jacob A. Braly
 PAUL, WEISS, RIFKIND,
   WHARTON & GARRISON LLP
 1285 Avenue of the Americas
 New York, NY 10019
 (212) 373-3000

 March 27, 2025
Case 1:24-cv-00490-MN             Document 102        Filed 04/14/25       Page 2 of 5 PageID #: 2252




 Dear Judge Noreika:

         Qualcomm’s motion for leave to file a Second Amended Complaint (“SAC”), which asserts
 new claims for Arm’s breach of the Qualcomm Technology License Agreement (“QC TLA”) and
 adds further allegations that support claims in the First Amended Complaint (“FAC”), should be
 granted. The amendment is timely under the Scheduling Order (D.I. 44), and Arm will suffer no
 prejudice, as the parties are still in the earliest stages of discovery, there is nearly four months until
 fact discovery closes, and trial is a year away. D.I. 44.

 I.          Background

         The FAC asserts that Arm breached the Qualcomm Architecture License Agreement by
 failing to provide certain technology and information that Arm is required to give to Qualcomm,
 and further asserts tort and unfair competition claims premised on this conduct and other actions
 designed to hurt Qualcomm’s business. D.I. 36 ¶¶125–132; ¶¶133–159. The SAC seeks to include
 claims concerning Arm’s additional breach of a different contract (the QC TLA) by its refusal to
 provide license offers at
                 of the QC TLA, in violation of                    of the QC TLA. Ex. A ¶¶213–
 226. The SAC also supplements the existing claims in the FAC with additional allegations. Id.
 ¶¶181–188, 204–212.

         On March 7, Qualcomm raised on a meet and confer with Arm its planned SAC and
 provided a redline on March 12.1 On March 14, Arm stated it opposed, based “at least” on
 “Qualcomm’s delay and prejudice to Arm” but declined to give further details. Ex. C. The parties
 raised the dispute with the Court on March 14, the deadline for pleading amendments in the
 Scheduling Order (D.I. 44).

 II.         Qualcomm’s Motion for Leave Should Be Granted

         “The court should freely give leave [to amend] when justice so requires.” Fed. R. Civ. P.
 15(a)(2). Leave to amend should be denied only in rare circumstances, where there is undue delay
 or bad faith, where amendments would be futile, or where the opposing party would be prejudiced.
 See Foman v. Davis, 371 U.S. 178, 182 (1962); Shane v. Fauver, 213 F.3d 113, 115 (3d Cir. 2000).
 None of those circumstances are present here.

         No undue delay. When a party moves to amend within the deadline set forth in the
 scheduling order, the proposed amendment is presumptively timely. See White Winston Select
 Asset Funds, LLC v. Good Times Rests., Inc., 2021 WL 4948044, at *2 (D. Del. Oct. 25, 2021)
 (finding that there was “no delay at all, let alone undue delay” where a party moved to amend
 before the deadline); Invensas Corp. v. Renesas Elecs. Corp., 2013 WL 1776112, at *3 (D. Del.
 Apr. 24, 2013) (“The fact that the Motion was filed within this deadline, one agreed to by both
 parties, strongly supports a conclusion that the amendment was not untimely filed.”). Here, the
 scheduling order set a deadline of March 14 (D.I. 44), and Qualcomm timely raised the dispute by
 that date. In addition to complying with the deadline, Qualcomm has not unduly delayed amending


       1
           The proposed SAC attached as Exhibit A includes additional edits.


                                                     1
Case 1:24-cv-00490-MN          Document 102         Filed 04/14/25      Page 3 of 5 PageID #: 2253




 its complaint.

         No bad faith. Arm has not asserted bad faith, nor could it. First, a timely-filed proposed
 amendment weighs against a finding of bad faith. See Trueposition, Inc. v. Allen Telecom, Inc.,
 2002 WL 1558531, at *2 (D. Del. July 16, 2002). Second, Arm has not identified (and cannot
 identify) a “nefarious purpose” or “sinister motive” behind the amendment. U.S. ex rel. B & R,
 Inc. v. Donald Lane Constr., 19 F. Supp. 2d 217, 221 n.6 (D. Del. 1998).

        No prejudice. To establish prejudice, Arm must show that it was “unfairly disadvantaged
 or deprived of the opportunity to present facts or evidence which it would have offered had the
 amendments been timely.” Bechtel v. Robinson, 886 F.2d 644, 652 (3d Cir. 1989). See also Kiser
 v. Gen. Elec. Corp., 831 F.2d 423, 427–28 (3d Cir. 1987) (party opposing amendment has the
 burden to prove prejudice). Arm has not specified any prejudice it would suffer because of the
 amendment.

         Here again, an amendment is presumptively nonprejudicial when it is made by the deadline
 set forth in the scheduling order. Good Times, 2021 WL 4948044, at *2 (“Timely filing also
 suggests that amendment will not prejudice” the defendant); Invensas, 2013 WL 1776112, at *3
 (timely filing also “strongly supports a conclusion that . . . [an amendment] will not work to
 unfairly prejudice” the defendant); Butamax Adv. Biofuels LLC v. Gevo, Inc., 2012 WL 2365905,
 at *2 (D. Del. June 21, 2012) (no unfair prejudice where motion to amend was timely filed).
 Qualcomm’s timely filing alone defeats a claim of prejudice.

          Moreover, an amendment is not prejudicial where it is made early in the discovery period.
 Bechtel, 886 F.2d at 652 (“[N]o other prejudice will result since neither [Defendant] will be
 deprived of the chance to present facts or evidence since this case is still in the initial stages of
 discovery”); Intell. Ventures I LLC v. Toshiba Corp., 2015 WL 4916789, at *2 (D. Del. Aug. 17,
 2015) (finding no prejudice in part because “the case is still in its early stages, and fact discovery
 is not scheduled to close” for several months); Broadsoft, Inc. v. CallWave Commc’ns, LLC, 2014
 WL 12929398, at *2 (D. Del. Sept. 9, 2014) (“A review of the docket shows that the case is in its
 early stages. There is no significant prejudice to [Defendant].”). Here, the parties are still in the
 earliest stages of discovery, as Arm has not produced a single document beyond those it produced
 in the prior case, or even identified its custodians or search terms, and fact discovery is still open
 for months. Because Arm will enjoy every opportunity to “present facts or evidence” in response
 to the new allegations in the SAC, Bechtel, 886 F.2d at 652, it cannot establish any prejudice from
 the proposed amendment. Id. (noting that prejudice is the “touchstone” for denying an
 amendment). Qualcomm’s proposed amendment should be permitted.

         The amendment is not futile. “An amendment is futile if it is frivolous, fails to state a
 claim upon which relief can be granted, or ‘advances a claim or defense that is legally insufficient
 on its face.’” Intell. Ventures, 2015 WL 4916789, at *2 (quoting Koken v. GPC Int’l, Inc., 443
 F. Supp. 2d 631, 634 (D. Del. 2006)). “Futility is governed by the same standard of legal
 sufficiency that applies under Fed. R. Civ. P. 12(b)(6).” In re PMTS Liquidating Corp., 490 B.R.
 174, 183 (D. Del. 2013). Arm has not argued futility and there is no basis for it to do so.

       First, the new breach of contract claims are not futile; the SAC sufficiently pleads each
 element of Arm’s breach of the QC TLA (and Arm has not contended otherwise, Ex. C). See Jade


                                                   2
Case 1:24-cv-00490-MN         Document 102          Filed 04/14/25        Page 4 of 5 PageID #: 2254




Fashion & Co. v. Harkham Indus., Inc., 177 Cal. Rptr . 3d 184, 192 (Ct. App. 2014) (elements of
breach of contract). The existence of the QC TLA and Qualcomm's perfonnance under the QC
TLA are not disputed. Ex. A ,r,r3, 127. For breach, Qualcomm pleads that Ann violated


-
- - of the QC TLA. Under that provision,




        ualcomm has leaded facts showing that Aim failed to
                                             for the _    ,_     , and -      cores, which support
that Aim failed to meet its obligation under the QC TLA and~                          ith regard to
that obligation. See id. ,r,r109- 11 5. Qualcomm also reasonably alleges, based on a commercially
unreasonable
. . . ., that Aim (1) failed to offer Qualcomm license fees and royalty rates that are -



        Qualcomm also seeks to plead breach of- - of the QC TLA, which provides that



                                                                               which Aim had never
 provided. Id. Yet Aim's renewal offers for the _       ,_      , and -        cores

                  , in violation of. . . .. Id. ,r120.

         Qualcomm sustained damages in the fo1m of royalties~ hile it is
                 given Aim's breach of the QC TLA. Id. ,r,r 168, 213- 226. And by forcing
 Qualcomm to develop its products without the ability to license CPUs from Aim at commercially
 viable rates, Aim made Qualcomm (i) shift additional resources to design custom CPUs; (ii) devote
 resources to workarounds and product redesign with a different microprocessor, or (iii) consider
 relying on older, less competitive versions of Aim CPUs Qualcomm licensed, to its competitive
 detriment. Id. mfl21-222. Thus, granting leave to add claims for Aim's breach of the QC TLA is
 not futile.

         Second, the amendment also supplements Qualcomm's existing claims (e.g., Counts IV-
 VI) . These amendments "merely set forth additional facts" and "simply make [the] allegation
 more plausible." Broadsoft, 2014 WL 12929398, at *1. It is well-established that motions to
 amend can be brought to "amplify previously alleged claims." United States v. Teeven, 1992 WL
 683682, at *7 (D. Del. Oct. 27, 1992). See also 6 Wright & Miller§ 1474 (3d ed. 1998) (a "party
 may make an amendment to amplify a previously alleged claim or defense."). Qualcomm
 explained in its opposition to AI1n's motion to dismiss (D.I. 64) that its existing claims survive a
 Rule l 2(b)(6) motion. The proposed amendments supplement existing claims to elucidate a fuller
 scope of Aim's conduct.



                                                    3
Case 1:24-cv-00490-MN     Document 102       Filed 04/14/25      Page 5 of 5 PageID #: 2255




                                         Respectfully,

                                         /s/ Jennifer Ying

                                         Jennifer Ying (#5550)

 cc:   Clerk of the Court (via hand delivery)
       All Counsel of Record (via CM/ECF and e-mail)




                                            4
